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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
                                                               :
 UNITED STATES OF AMERICA,                                     :
                                              Plaintiff,       :           19 Cr. 333 (LGS)
                            -v-                                :
                                                               :              ORDER
 MICHAEL HOLLINGSWORTH,                                        :
                                              Defendant, :
 ------------------------------------------------------------- X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, with MICHAEL HOLLINGSWORTH’s consent, his guilty plea allocution

was taken before Magistrate Sarah Netburn on November 21, 2019;

        WHEREAS, a transcript of the allocution was made; and

        WHEREAS, upon review of that transcript, this Court has determined that the defendant

entered the guilty plea knowingly and voluntarily and that there is a factual basis for the guilty

plea;

        IT IS HEREBY ORDERED that the defendant's guilty plea is accepted.


Dated: New York, New York
       October 20, 2020
                                                         ____________________________
                                                             LORNA G. SCHOFIELD
                                                             United States District Judge
